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Attachment B

Responsive Statement Of The Creditors’ Committee
To The Competing Plans
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Responsive Statement of the Creditors' Committee to the Competing Plans

THE SETTLEMENT PLAN IS THE BEST OPTION
FOR GENERAL UNSECURED CREDITORS

The Creditors' Committee supports, and encourages unsecured creditors of Tribune and
its Subsidiaries to vote for, the Plan filed by the Creditors' Committee, the Debtors, Angelo
Gordon, Oaktree and JPMorgan (the "Settlement Plan") and to vote against the three competing
plans (the "Competing Plans") filed by: (i) Aurelius Capital Management, LP, the Indenture
Trustees for the Senior Notes and the Indenture Trustee for the PHONES Notes (the "Litigation
Plan"); (ii) King Street Company, L.L.C., King Street Capital, L.P. and Marathon Asset
Management, L.P. in their capacity as Bridge Loan Lenders (the "Bridge Plan"); and (iii) certain
holders of Step One Loan Claims (the "Step One Plan").

A, Recommendation for Voting on Competing Plans

Subsequent to the filing of the Competing Plans, on November 3, 2010, the Creditors’
Committee held a meeting with its professionals to discuss and carefully consider each of the
Competing Plans and the proposed treatment of general unsecured creditors under each of the
plans. Following an extensive review, the Creditors' Committee formally voted to restate its
support for the Settlement Plan and to oppose each of the Competing Plans.

Because the Settlement Plan provides general unsecured creditors with substantially
greater initial recoveries and more certainty than the Competing Plans, and for the other
reasons described below, the Creditors' Committee recommends that general unsecured
creditors vote to:

ACCEPT the Settlement Plan on the BLUE BALLOT
included with the plan solicitation materials and indicate that it is
the creditors’ preferred plan; and

REJECT each of the Litigation Plan (PURPLE BALLOT),
the Bridge Plan YELLOW BALLOT), and
the Step One Plan (GREEN BALLOT)

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B. Why the Settlement Plan is the Best Plan for General Unsecured Creditors

In stark contrast to the Competing Plans, the Settlement Plan provides non-LBO, general
unsecured creditors ("Non-LBO Creditors") with significant and fixed recoveries immediately
upon effectiveness of the plan. Those recoveries are not subject to the risks, costs and delays
inherent in litigation of the LBO-Related Causes of Action. Below is a chart comparing the
initial distributions to creditors upon the Debtors’ emergence from bankruptcy under the
Settlement Plan versus the Competing Plans.

Initial Distributions (Percentage Recoveries)~ Not Contingent On Litigation Recoveries

Class/Claims Settlement Plan Litigation Plan’ | Bridge Plan! Step One Plan’
(Blue Ballot) (Purple Ballot) (Yellow Ballot) — (Green Bailot)
Parent: 1.09% Parent: 1.37%
"Step One" Senior Subs: 69.95% Subs: 69.95%
Loans 34.20% 34.20%
Total: 71.03% Total: 71.32%
Parent: 1.09%
"Step Two" Subs: 69.95%
Senior Loans 0.00% 0.00% 0.00%
Total: 71.03%
Bridge Loans 0.00% 0.00% 7.70% 0.00%
Senior Notes 32.73% 4.80% 4.80% 23.38%
Other Parent 35.18% or 2
Claims (Trade) 32.73%? 4.3% 4.43% | 29-83% or 23.38%
Claims Against
Subs (Trade) 100% 8.00% 8.00% 100%
PHONES Notes 0.00% 0.00% 0.00% 0.00%

1 Assumes that litigation over "sharing provisions” of Senior Loan Agreement has not resulted in a final, non-
appealable judgment before effectiveness of the plan but that the Bankruptcy Court nevertheless permits
distributions in respect of "Step One" claims. If the Bankruptcy Court did not permit such distributions, a very
real risk, initial distributions to all Senior Lenders would be 0.00%. Also assumes that litigation over allowed
amount of PHONES Notes Claims has not resulted in a final, non-appealable judgment by effectiveness of the
plan and that illusory Bridge Plan "settlements" (see below) are not approved.

smaller cash distribution (the 32.73% payout) plus interests in the Litigation Trust.

Depends on creditor election between receiving a higher all cash distribution (the 35.18% payout) or a slightly

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The settlement of the LBO-Related Causes of Action embodied in the Settlement Plan
results in Non-LBO Creditors receiving cash recoveries totaling approximately $598 million,
plus a share of recoveries obtained from the resolution of causes of action to be assigned to a
Litigation Trust and a Creditors' Trust (together, the "Trusts"). This $598 million is available for
distribution immediately upon plan effectiveness and is not contingent on future litigation events.

Of the $598 million in total cash recoveries, $521 million is being provided to settle
certain claims against LBO Creditors. Specifically, holders of Senior Loan Claims will
relinquish approximately $401 million in cash to which they would otherwise be entitled if their
claims were allowed in full and without reduction. That cash consideration will be distributed to
the holders of Senior Noteholder Claims and other unsecured creditors of Tribune and the
Tribune Subsidiary Debtors. Additionally, the Settlement Plan provides for a "Step
Two/Disgorgement Settlement" against Step Two parties, including current and former Senior
Lenders, Bridge Lenders and Step Two Arrangers who received payments prior to the Petition
Date, which will result in an additional $120 million of cash consideration being distributed to
the holders of Senior Noteholder Claims.

At the same time, the Settlement Plan provides additional upside to Non-LBO Creditors,
by preserving certain LBO-Related Causes of Action, which will be assigned to the Trusts, and
providing for an allocation of trust proceeds that is favorable to the Non-LBO Parent Creditors.
Specifically, the first $90 million of Trust recoveries will be distributed to Non-LBO Creditors
and, after repayment of the $20 million loan from Tribune to fund the Trusts, 65% of any
additional Trust proceeds will be distributed to the Non-LBO Creditors (the "Parent GUC Trust
Preference"). For illustrative purposes only, assuming that Trust recoveries total $200 million,
Non-LBO Creditors would receive $148.5 million (the first $90 million, plus 65% of the net
remaining proceeds after repayment of the Tribune loan), while Senior Lenders would receive
$31.5 million (35% of the net remaining proceeds after repayment of the Tribune loan).

Based on the settlement embodied in the Settlement Plan, Non-LBO Creditors of Tribune
and the Subsidiaries will receive significant and certain initial distributions upon effectiveness of
the Settlement Plan. Specifically, each general unsecured creditor of Tribune will receive either
a cash payment equal to 35.18% of its allowed claim amount or a cash payment equal to 32.73%
of its allowed claim amount, plus interests in the Trusts. General unsecured creditors of the
Subsidiary Debtors are expected to receive a 100% recovery in cash. And Senior Noteholders
are expected to receive an approximate recovery of 32.73% of their claims, which includes $420
million in cash, plus interests in the Trusts.

C. The Settlement Embodied in the Settlement Plan is Fair and Reasonable

The settlement embodied in the Settlement Plan was the result of intense, good faith, and
arm's length negotiations that took place before the Honorable Kevin Gross, the mediator
appointed by the Bankruptcy Court and a sitting judge of the United States Bankruptcy Court for
the District of Delaware. The Creditors' Committee believes that the settlement in the Settlement
Plan is highly beneficial to Non-LBO Creditors and provides significant and immediate
recoveries without the risks, costs and time delay inherent in litigation of the LBO-Related
Causes of Action.
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THE SETTLEMENT PLAN IS A BETTER OPTION THAN THE LITIGATION PLAN

A, The Litigation Plan Provides for Lower Initial Distributions
and is Fraught with Unacceptable Litigation Risk

The Litigation Plan is significantly less favorable to general unsecured creditors than the
Settlement Plan because the vast majority of anticipated recoveries under the Litigation Plan are
fraught with risk since they are dependent on the successful prosecution or settlement of the
LBO-Related Causes of Action. Initial distributions to creditors are much lower than those
under the Settlement Plan. As described in the Disclosure Statement accompanying the
Settlement Plan, there are a wide range of potential outcomes with respect to the LBO-Related
Causes of Action, from complete failure with respect to both Step One and Step Two to complete
victory. The Examiner's Report analyzed the recoveries to the Non-LBO Creditors with respect
to claims against the Lenders in six different scenarios.’ Only one of the six scenarios, the
complete victory scenario, results in Non-LBO Creditors recovering more than the $598 million
which they will receive under the Settlement Plan ($521 million of which is incremental
settlement value and $77 million of which is "base case" value, assuming no litigation
recoveries). In the other five scenarios, the incremental recoveries to Non-LBO Creditors
resulting from the LBO-Related Causes of Action range from $0 (complete loss) to
approximately $205 million to $244 million (fraudulent transfer for Tribune at both Step One
and Step Two, but only at Step Two for guarantor subsidiaries).

The wide range of potential litigation outcomes with respect to the LBO-Related Causes
of Action drives the wide range of potential creditor recoveries under the Litigation Plan. For
example, under the Litigation Plan: (1) general unsecured creditors of Tribune (Other Parent
Claims) may recover between 4.3% and 100%; (ii) general unsecured creditors at the non-
guaranty Subsidiary Debtors (Other Guarantor Debtor Claims) may recover between 8% and
100%; and (iii) Senior Noteholders may recover between 4.3% and 100%.

The only absolute and assured recoveries to Non-LBO Creditors under the Litigation Plan
are the lowest recoveries set forth above (i.e., 4.3% to holders of Other Parent Claims, 8% to
holders of Other Guarantor Debtor Claims and 4.3% to holders of Senior Noteholders Claims).
Any additional recoveries are dependent on the successful prosecution or settlement of the LBO-
Related Causes of Action. Moreover, although the best case scenarios under the Litigation Plan
yield full recovery to general unsecured creditors, the Creditors' Committee believes that these
scenarios are fraught with risk and that a more indicative measure of expected value to unsecured
creditors is the "put option" value being offered by Aurelius under the plan. Under the Litigation

The Examiner includes two additional scenarios, cases 7 and 8, which are variants on the Examiner's case 3
(Step Two fraudulent transfer at Tribune and guarantor subsidiaries). Cases 7 and 8 add disgorgement proceeds
from actions against Step Two selling stockholders. These disgorgement claims are fully preserved and will be
transferred to the Trusts under the Settlement Plan.
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Plan, holders of Other Parent Claims have the option to "put," or cash out, their claims for a 15%
recovery, while holders of Other Guarantor Debtor Claims have the option to cash out their
claims for a 25% recovery, in each case subject to certain dollar caps.*| These "cash out"
recoveries are significantly less than the percentage recoveries of 35.18% and 100% to these
same classes, respectively, under the Settlement Plan.

The Litigation Plan should be unattractive to holders of unsecured claims at the Debtor
Subsidiary level who fall within the class of Other Guarantor Debtor Claims. Under the
Litigation Plan, these creditors will receive an initial distribution of only 8%, with an option to
cash out at 25%, subject to certain dollar caps provided in that plan. Only in certain scenarios
where litigation is successful would creditors in this class receive a full 100% recovery, and that
would likely only occur, if at all, after significant delay in resolving the litigation. In contrast,
under the Settlement Plan, general unsecured creditors of the Debtor Subsidiaries are expected to
recover 100% of their allowed claims (assuming, as expected, that allowed claims against the
Debtor Subsidiaries do not exceed $150 million) on or shortly after the Effective Date of the
Settlement Plan. Thus, general unsecured creditors of the Debtor Subsidiaries under the
Settlement Plan will automatically receive what they would receive only in a best case scenario
under the Litigation Plan.

B. Recommendation to Reject the Litigation Plan

In short, the Litigation Plan is fraught with uncertainty and the attenuating risks, costs
and delay of complex litigation arising from the LBO-Related Causes of Action. By contrast, the
Settlement Plan provides very significant initial distributions, while also providing upside to
general unsecured creditors through preservation of certain LBO-Related Causes of Action.
Accordingly, the Creditors' Committee recommends that general unsecured creditors vote against
the Litigation Plan by checking the box in the purple ballot to "reject" the plan.

‘There may be a dispute at the confirmation hearing as to whether the "put option" concept embodied in the

Litigation Plan is permissible.
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THE SETTLEMENT PLAN IS A BETTER OPTION THAN THE BRIDGE PLAN

A, The Bridge Plan Is Entirely Ilusory Because
the Settlements It Advertises Will Never Take Place

The Committee also believes the Bridge Plan's proposed treatment of Non-LBO Creditors
is much less favorable than the treatment provided to Non-LBO Creditors in the Settlement Plan.
While the Bridge Plan advertises upfront payments in amounts exceeding those offered in the
Settlement Plan, those payments are contingent upon the Senior Lenders agreeing to receive
significantly lower distributions than they would receive under the Settlement Plan or the Step
One Plan. In essence, the Bridge Plan would only deliver the advertised recoveries if the Senior
Lenders were to agree to fund settlements far in excess of those they have indicated any
willingness to fund during all previous negotiations. The likelihood of the Senior Lenders
agreeing to these alternative reduced recoveries is minimal. Accordingly, the actual initial
distributions to Non-LBO Creditors will be minimal and similar to those offered under the
Litigation Plan.

The Bridge Plan is based on the Litigation Plan which, as noted above, contemplates full
litigation of the LBO-Related Causes of Action pursuant to a two trust structure. The Bridge
Plan then layers on top of that construct three possible settlements -- a Step One Lenders’
settlement, a Step Two Lenders’ settlement and a Bridge Lenders’ settlement. As part of the
solicitation process, the Step One Lenders, Step Two Lenders and Bridge Lenders each will have
the opportunity to vote to accept or reject the proposed settlements. The settlements are
severable, meaning that even if the Step One Lenders and Step Two Lenders were to vote against
their respective settlements contained within the Bridge Plan, the Bridge Lenders could still vote
in favor of their settlement, entitling them to releases from the LBO-Related Causes of Action
and an upfront cash payment of $125 million. Under the Settlement Plan, the Bridge Lenders are
not entitled to any value until the LBO-Related Causes of Action are resolved, and the Bridge
Lenders are instead potential targets of the Litigation Trust.

As noted above, the Non-LBO Creditors' recoveries under the Bridge Plan are contingent
upon the agreement of the Senior Lenders to accept their respective settlements. At a minimum,
the Step One Settlement has to be approved for the Non-LBO Creditors to yield any meaningful
upfront recoveries. At this time, neither the Step One Lenders nor Step Two Lenders have
agreed to the settlements and the Creditors’ Committee believes the chances they will ever do so
are remote, as they would have to agree to receive lower distributions than what they would be
entitled to under the Settlement Plan. The additional value promised to the Non-LBO Creditors
under the Bridge Plan depends mainly on the agreement of the Step Two Lenders to accept lower
recoveries than those they would receive under the Settlement Plan. Under the proposed Step
Two Settlement under the Bridge Plan, the Step Two Lenders would receive approximately $500
million less than under the Settlement Plan. The Creditors’ Committee believes it unlikely that
the Step Two Lenders (a subset of which are co-proponents of the Settlement Plan) will vote in
favor of this settlement, and without their approval, the additional value to Non-LBO Creditors
disappears. Moreover, without the Step Two Settlement, Step One Lenders would receive less
value than they would receive under the Settlement Plan, making it equally unlikely that the Step
One Lenders will vote in favor of the settlement.
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Accordingly, the only constituency likely to vote in favor of the Bridge Plan is the Bridge
Lenders. Without approval of the Step One Settlement, the Non-LBO Creditors receive much
less favorable treatment under the Bridge Plan than under the Settlement Plan. Indeed, if the
Bridge "settlement" is approved, the Non-LBO Creditors receive even worse treatment than they
would receive under the Litigation Plan because not only would the LBO-Related Causes of
Action against the Bridge Lenders be released, the Bridge Lenders would in fact be paid more
than they would be entitled to even if their claims were fully allowed. For these reasons, the
Bridge Plan offers no benefit to Non-LBO Creditors, and in fact could treat them even worse
than the Litigation Plan.

B. Recommendation to Reject the Bridge Plan

In its most likely form (Z.e., without a Step One Settlement and Step Two Settlement), the
Bridge Plan looks like the Litigation Plan except that the Bridge Lenders propose to release
themselves from LBO-related litigation risk, give themselves $125 million in Cash as an initial
distribution, and retain a 5% interest in the Creditors' Trust. Unlike the Settlement Plan, the
Non-LBO Creditors have no certainty at this point of meaningful upfront recoveries under the
Bridge Plan. Accordingly, the Creditors’ Committee recommends that general unsecured
creditors vote against the Bridge Plan by checking the box in the yellow ballot to "reject" the
plan.

THE SETTLEMENT PLAN IS A BETTER OPTION THAN THE STEP ONE PLAN

A, The Step One Plan Creates Litigation Risk
and Provides Less Value to Non-LBO Creditors

The Step One Plan provides significantly worse treatment for unsecured creditors of
Tribune than does the Settlement Plan. The Step One Plan is deficient in many respects,
including:

e The Step One Plan provides much lower initial recoveries for Senior Noteholders
and holders of Other Parent Claims;

e The Step One Plan eliminates the favorable priority and allocation of Trust
proceeds afforded to Non-LBO Creditors under the Settlement Plan;

e The Step One Plan undoes the Step Two/Disgorgement Settlement, creating
litigation risk; and

e The Step One Plan contemplates a risky litigation scenario under which the Step
One LBO-Related Causes of Action are released while the Step Two LBO-
Related Causes of Action are prosecuted.

While the Step One Plan seems similar in most respects to the Settlement Plan, it
reallocates value from Non-LBO Creditors to the Step One Lenders, providing for smaller and
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more uncertain recoveries for the Non-LBO Creditors. For example, under the terms of the Step
One Plan, the Step One Lenders may recover between $4,720,028,500 and $6,219,005,500 on
their claims (without the benefit of any distribution from the Remaining Bridge Loan Reserve or
the Litigation or Creditors' Trust); more than under any other of the competing plans.

This value is taken from all other creditor classes, as no class, other than the Step One
Lenders (and possibly the Step Two Lenders if they are completely victorious in the litigation of
their claims), receives more than it would under the Settlement Plan. Moreover, while the Step
One Lenders may argue that unsecured creditors may benefit from the additional claims to be
contributed to the Trusts against the Step Two Lenders, the Step One Plan does not provide for
the Parent GUC Trust Preference (i.e., the mechanism by which Senior Noteholders and electing
Other Parent Claims are afforded a $90 million priority in the Trust distributions). Accordingly,
the Step One Lenders share pro rata in any recoveries, dramatically diluting any potential
litigation recoveries to Non-LBO Creditors.

In addition, recoveries against the Step Two Lenders would be dependent on successfully
prosecuting or settlement of the LBO-Related Causes of Action. As described above, a
successful resolution of these claims is far from certain and is fraught with risk. Additionally,
from a litigation strategy standpoint, the Creditors' Committee has serious concerns with a
bifurcated settlement involving only Step One claims. Bifurcating Step One and Step Two
claims fails to take into account that a challenge of the Step Two transaction is not only based on
conduct relating to Step Two, but on conduct that occurred in conjunction with Step One.
Accordingly, any release of the Step One LBO-Related Causes of Action may impair the Trusts’
ability to pursue claims that may be brought with respect to Step Two.

B. Recommendation to Reject the Step One Plan

In sum, the Step One Plan benefits only one constituency, the Step One Lenders, while
subjecting all other classes to lesser distributions and more uncertain recoveries. Accordingly,
the Creditors' Committee recommends that general unsecured creditors vote against the Step One
Plan by checking the box in the green ballot to "reject" the plan.
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Respectfully,

THE OFFICIAL COMMITTEE OF UNSECURED

CREDITORS OF TRIBUNE COMPANY, ET AL.

Warner Bros. Television, solely in its capacity as

Co-Chagt of the Creditors’ C ittée and not in its individual capacity

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ayne M. Smith QO
ice Pfesident, Senior Litigation & Chief Patent Counsel

